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                                CASE NO. 23-2135

                   UNITED STATES COURT OF APPEALS
                       FOR THE SEVENTH CIRCUIT

KATHRYN KNOWLTON, et. al.,

            Plaintiff-Appellants,

v.

CITY OF WAUWATOSA, et. al.,

            Defendant-Appellees.

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                 AMENDED JURISDICTIONAL STATEMENT
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      The district court had jurisdiction over this action pursuant to 28 U.S.C. 1331

and 28 U.S.C. § 1367. The federal statutes at issue are 42 U.S.C. 1983, 18 U.S.C. §

2721, U.S. Const. Amend. I, and U.S. Const. Amend XIV. The Plaintiffs-Appellants

appeal from a final judgment or orders by the Court, Magistrate Judge Nancy Joseph

in the Wisconsin Eastern District Court.

      Appellants Knowlton and McCormick and Appellees Wauwatosa, Weber, and

McBride consented to have this case decided by Magistrate Joseph on November 25,

2020. ECF No. 7, 8. Appellants consented in writing to the final judgments by the

Magistrate Judge Nancy Joseph on February 21, 2022. (ECF Doc. 164). Appellees

consented in writing to the final judgments by the Magistrate Judge Nancy Joseph

on May 13, 2022. (ECF Doc. 185).




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       Appellants appeal the Decision and Order entered on August 24, 2022 (App. A001-27);

the Decision and Order entered March 13, 2023 (A028-711); and the order denying supplemental

instruction to the jury on May 5, 2023. A072-74. No motion for a new trial or to alter the

judgment – or any other motion that would toll the time to file a notice of appeal – was filed

before the district court. The Plaintiffs-Appellants prior to noticing this appeal know of no other

related pending circuit court or district court cases involving these matters. The Plaintiffs-

Appellants have no prior federal cases. The prior proceedings have not been found to satisfy the

requirements of 28 U.S.C. 1915. The United States Court of Appeals has jurisdiction to decide

this case pursuant to 28 U.S.C. § 1291. Appellants timely filed their Notice of Appeal on June 7,

2023. No issues remain before the district court.

                           Dated this 18th day of December 2023.


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